UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

 

Carlos Collazos, individually and on behalf of all others )
similarly situated,, )
) PROOF OF SERVICE
Plaintiff(s), ) WIA FEDERAL
) EXPRESS
-against- )
) Case No. 21-cv-02095
Garda CL Atlantic, Inc., et al., ) (PKC URC)
)
Defendant(s). )
)
Pursuant to 28 U.S.C. § 1746, I hereby declare as follows:
1. I am aresident of the State of New York, County of Suffolk.

2. I am over 18 years of age and not a party to this action.
3. On October 24, 2022 I served the within document(s)
a. Motion to Compel

By placing a true and correct copy of the document(s) in a Federal Express envelope addressed
as set forth below and then sealing the envelope, affixing a pre-paid Federal Express shipping
label, and depositing same in a Federal Express drop box in Huntington, New York.
TO: ‘Patrick Cremo

328 State Street

Schenectady, NY 12305

(877)632-4996

I declare under penalty of perjury, that the foregoing is true and correct.
Dated: October 28, 2022

Huntington, New York Co (;
LAST”

Shirley Navitt0-Losito-——— °
